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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

 American Foreign Service Association, et al.,

 Plaintiffs,

 v.                                                Case No. 1:25-cv-00352

 President Donald J. Trump, et al.,

 Defendants.

                                              ERRATA

The complaint filed on February 6, 2025 (ECF 1) is corrected as follows:

      1. At the start of paragraph 13, “1988 act” should be replaced with “1998 act.”

      2. in footnote 8 on page 10, delete “(attached as Exhibit A)”,

      3. The word “Director” should be replaced with “Administrator” in the following places:

         •     in paragraph 7 on page 2,

         •     in the second sentence of paragraph 34 on page 6,

         •     in b.i. on page 28.

Dated: February 7, 2025                         Respectfully submitted,

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